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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CATHERINE ALEXANDER,

                   Plaintiff,
                                                      Case No. 3:18-cv-0966-SMY
 v.
                                                      JURY TRIAL DEMANDED
 TAKE-TWO INTERACTIVE SOFTWARE,
 INC., et al.

                 Defendants.

     PLAINTIFF’S OBJECTIONS TO DEFENDANTS’ FIRST AMENDED RULE 26(a)(3)
                               DISCLOSURES

        COMES NOW, Plaintiff Catherine Alexander, by and through her attorneys, pursuant to

Fed. R. Civ. P. 26(a)(3) makes the following objections to the Pre-Trial Disclosures served by

Defendants:

I.      OBJECTIONS TO TESTIMONY THROUGH DEPOSITION DESIGNATION

        Pursuant to the Court’s Order (Doc. 258), the Parties, after meeting and conferring, shall

submit a single joint statement to the Court setting forth their designations, counter-designations

and objections by September 7, 2022.

II.     OBJECTIONS TO EXHIBITS

        Plaintiff objects to any exhibit, or portion of any exhibit, that violates a granted motion in

limine or any stipulations regarding evidence made by the parties, whether explicitly stated

below or not. Plaintiff’s statements below that she has “no objection” to an exhibit is not a

waiver of her right to object on the basis of any granted motion in limine or stipulations.




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 Defendants’                                                                    Plaintiff’s
                                        Description
  Exh. No.                                                                      Objections
               Physical Exhibit: WWE 2K16 for XBox One (Defendants’ Summary
      1        Judgment Ex. 16)
               Physical Exhibit: WWE 2K17 for XBox One (Defendants’ Summary
      2        Judgment Ex. 17)
               Physical Exhibit: WWE 2K18 for XBox One (Defendants’ Summary
      3        Judgment Ex. 18)
               Webpage for WWE 2K16, Standard Edition, available at
      4        https://2k.com/en- US/game/wwe-2k16-standard-edition/
      5        WWE 2K16 Gameplay Image of Randy Orton (Bogost Rpt. at 28)
               Video Recording of WWE 2K16 (Defendants’ Summary
      6        Judgment Ex. 1, Appendix A)
      7        WWE 2K16 Gameplay - Roman Reigns vs. Randy Orton
      8        WWE 2K16 Gameplay - John Cena vs. Randy Orton
      9        WWE 2K16 Gameplay - Royal Rumble
     10        WWE 2K16 Gameplay - Randy Orton vs. John Cena
     11        WWE 2K16 Gameplay - Seth Rollins vs. Stone Cold Steve Austin
               Webpage for WWE 2K 17, Standard Edition, WWE 2K 17,
     12        available at https://2k.com/en-US/game/wwe-2k17-
               standard-edition/
               Video Recording of WWE 2K17 (Defendants’ Summary
     13        Judgment Ex. 1, Appendix B)
     14        WWE 2K17 Gameplay - Randy Orton vs. Bubba Ray Dudley
     15        WWE 2K17 Gameplay - Randy Orton vs. Kane
     16        WWE 2K17 Gameplay - Royal Rumble
     17        WWE 2K17 Gameplay - Randy Orton vs. John Cena
     18        WWE 2K17 Gameplay - Roman Reigns vs. Brock Lesnar
               Webpage for WWE 2K 18, Standard Edition, WWE 2K 18,
     19        available at https://2k.com/en-US/game/wwe-2k18-
               standard-edition/
     20        WWE 2K18 Load Screen Image (Bogost Rpt. at 20)
     21        WWE 2K18 Menu Options Image (Bogost Rpt. at 20)
     22        WWE 2K18 Play / One-on-One Options Image (Bogost Rpt. at 20)
     23        WWE 2K18 Store / Purchasable Options Image (Bogost Rpt. at 20)
     24        WWE 2K18 Gameplay Image of Randy Orton (Bogost Rpt. at 29)
               Video Recording of WWE 2K18 (Defendants’ Summary
     25        Judgment Ex. 1, Appendix C)
     26        WWE 2K18 Gameplay - Randy Orton vs. Dean Ambrose

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 Defendants’                                                                 Plaintiff’s
                                       Description
  Exh. No.                                                                   Objections
     27        WWE 2K18 Gameplay - Roman Reigns vs. Randy Orton
     28        WWE 2K18 Gameplay - Royal Rumble
     29        WWE 2K18 Gameplay - Randy Orton vs. Seth Rollins
     30        WWE 2K18 Gameplay - Brock Lesnar vs. Neville
               Webpage titled “WWE’s history of video games” from WWE.com,
     31        available at https://www.wwe.com/article/wwe-video-games-        R, H
               history
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000913
     32        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000914
     33
               (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000918
     34
               (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000909
     35
               (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000910
     36        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000911
     37
               (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000912
     38
               (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000915
     39        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000916
     40        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000917
     41        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000919
     42        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000920
     43        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000921
     44        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000922
     45
               (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000923
     46        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000924
     47
               (Confidential)

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 Defendants’                                                              Plaintiff’s
                                        Description
  Exh. No.                                                                Objections
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000925
     48        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000926
     49        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000927
     50
               (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000928
     51        (Confidential)
               Photo of Randy Orton, Bates stamped TAKE-TWO_0000929
     52
               (Confidential)
     53        Drawing of Tribal Tattoo, Bates stamped ALEXANDER000040
               Photo of Back Tattoo with Drawing, Bates stamped
     54        ALEXANDER000038
     55        Photo of Back Tattoo with Drawing (Alexander Dep. Ex. 6)
     56        Photo of Arm Tattoo, Bates stamped ALEXANDER000044
               Photo of Randy Orton, front view, Bates stamped
     57        ALEXANDER000043
     58        Photo of Arm Tattoo, Bates stamped ALEXANDER000048
               Photo of Randy Orton, side view, Bates stamped
     59
               ALEXANDER000045
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     60        TWO_0000798 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     61        TWO_0000799 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     62        TWO_0000800 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     63        TWO_0000801 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     64        TWO_0000802 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     65        TWO_0000803 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     66        TWO_0000804 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     67        TWO_0000805 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     68        TWO_0000806 (Confidential)


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 Defendants’                                                                Plaintiff’s
                                        Description
  Exh. No.                                                                  Objections
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     69        TWO_0000807 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     70        TWO_0000808 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     71        TWO_0000809 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     72        TWO_0000810 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     73        TWO_0000811 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     74        TWO_0000812 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     75        TWO_0000813 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     76        TWO_0000814 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     77        TWO_0000815 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     78        TWO_0000816 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     79        TWO_0000817 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     80        TWO_0000818 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     81        TWO_0000819 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     82        TWO_0000820 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     83        TWO_0000821 (Confidential)
               Skin and Tattoo Image for Character, Bates stamped TAKE-
     84        TWO_0000822 (Confidential)
               September 1, 2009 Booking Contract between World Wrestling
               Entertainment, Inc. and Randal Orton, Bates stamped
     85        WWE_Alexander0000001– WWE_Alexander0000026
               (Confidential)




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 Defendants’                                                                       Plaintiff’s
                                          Description
  Exh. No.                                                                         Objections
               February 11, 2013 Agreement between World Wrestling
               Entertainment, Inc. and Take-Two Interactive Software, Inc.,
     86        Bates stamped TAKE- TWO_0000498–TAKE-TWO_0000542
               (Confidential)
               Redacted February 11, 2013 Agreement between World Wrestling
     87        Entertainment, Inc. and Take-Two Interactive Software, Inc.
               January 6, 2016 Amendment One to Agreement between World
               Wrestling Entertainment, Inc. and Take-Two Interactive
     88        Software, Inc., Bates stamped TAKE-TWO_0000543–TAKE-
               TWO_0000559 (Confidential)
               Redacted January 6, 2016 Amendment One to Agreement between
     89        World Wrestling Entertainment, Inc. and Take-Two Interactive
               Software, Inc.
               February 12, 2013 Master Developer Agreement between Yuke’s
     90        Co. Ltd. and 2K Sports, Inc., Bates stamped TAKE-
               TWO_0000560-TAKE–TWO_0000609 (Confidential)
               Chart of WWE 2K Franchise sales since Apr 2015, Bates
     91
               stamped TAKE- TWO_0001332 (Highly Confidential)
               Chart of WWE 2K Franchise sales since Apr 2015, Bates
     92        stamped TAKE- TWO_0000983 (Highly Confidential)
               Schedules of WWE 2K Sales and Profits (Malackowski Rpt. App.
     93        C) (Highly Confidential)
               November 5, 2018 Plaintiff Catherine Alexander’s Objections and
               Responses to Defendants Take-Two Interactive Software, Inc., 2K
     94        Games, Inc., 2K Sports, Inc., and Visual Concepts Entertainment’s      Disc.
               First Set of Requests for Admissions to Plaintiff Catherine
               Alexander, Dkt. No. 95
               October 15, 2018 Plaintiff’s Objections and Responses to
               Defendants Take- Two Interactive Software, Inc., 2K Games,
     95        Inc., 2K Sports, Inc., and Visual Concepts Entertainment’s             Disc.
               First Set of Interrogatories to Plaintiff Catherine Alexander
               January 7, 2019 Plaintiff Catherine Alexander’s Objections and
               Responses to Defendants Take-Two Interactive Software, Inc.,
     96        2K Games, Inc., 2K Sports, Inc., and Visual Concepts                   Disc.
               Entertainment’s Second Set of Requests for Admission to
               Plaintiff Catherine Alexander, Dkt. No. 108
               November 19, 2018 Letter from Anthony Simon regarding
               Plaintiff’s Objections and Responses to Defendants’ First Set of
               Interrogatories and Plaintiff’s Objections and Responses to            Disc.
     97
               Defendants’ First Set of Requests for Production


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 Defendants’                                                                         Plaintiff’s
                                           Description
  Exh. No.                                                                           Objections
               January 10, 2019 Plaintiff’s Objections and Supplemental
               Responses to Defendants Take-Two Interactive Software, Inc.,
     98        2K Games, Inc., 2K Sports, Inc., and Visual Concepts                     Disc.
               Entertainment’s First Set of Interrogatories to Plaintiff Catherine
               Alexander
               January 7, 2019 Plaintiff Catherine Alexander’s Objections and
               Responses to Defendants Take-Two Interactive Software, Inc.,
     99        2K Games, Inc., 2K Sports, Inc., and Visual Concepts                     Disc.
               Entertainment’s Second Set of Interrogatories to Plaintiff
               Catherine Alexander
               October 15, 2018 Plaintiff’s Objections and Responses to
               Defendants Take- Two Interactive Software, Inc., 2K Games,
     100       Inc., 2K Sports, Inc., and Visual Concepts Entertainment’s               Disc.
               First Set of Requests for Production to Plaintiff Catherine
               Alexander
               January 10, 2019 Plaintiff’s Objections and Supplemental
               Responses to Defendants Take-Two Interactive Software, Inc., 2K
               Games, Inc., 2K Sports, Inc., and Visual Concepts                        Disc.
     101       Entertainment’s First Set of Requests for Production to Plaintiff
               Catherine Alexander
               February 25, 2019 Letter United States Copyright Office to The
     102       Simon Law Firm re Bible Verse Design, Bates stamped                   403, R, ML
               ALEXANDER000067- ALEXANDER000069
     103       State of Missouri Patron Consent Form (Alexander Dep. Ex. 2)             R, F
               November 4, 2019 Declaration of Randy Orton (Defendants’               ML, H,
     104       Summary Judgment Ex. 2)                                                Expert
                                                                                      Opinion
               November 27, 2018 Declaration of Gary Glatstein, Bates                 ML, H,
     105       stamped TAKE- TWO_0001327-TAKE-TWO_0001331                             Expert
                                                                                      Opinion
               February 23, 2018 Declaration of Thomas Ray Cornett in Solid          R, ML, H,
     106       Oak Sketches, LLC v. 2K Games, Inc. et al., 15-cv-724 (SDNY)           Expert
               (Jablonski Rpt. Ex. 3)                                                 Opinion
               March 13, 2018 Declaration of Deshawn Morris a/k/a Shawn              R, ML, H,
               Rome in Solid Oak Sketches, LLC v. 2K Games, Inc. et al., 15-cv-       Expert
     107       724 (SDNY) (Jablonski Rpt. Ex. 4)                                      Opinion
               February 7, 2018 Declaration of Justin Wright in Solid Oak            R, ML, H,
     108       Sketches, LLC v. 2K Games, Inc. et al., 15-cv-724 (SDNY)               Expert
               (Jablonski Rpt. Ex. 5)                                                 Opinion
     109                               WITHDRAWN


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 Defendants’                                                                          Plaintiff’s
                                           Description
  Exh. No.                                                                            Objections
     110                                 WITHDRAWN
     111                                 WITHDRAWN
     112                                 WITHDRAWN
     113                                 WITHDRAWN
     114                                 WITHDRAWN
     115                                 WITHDRAWN
     116                                 WITHDRAWN
     117                                 WITHDRAWN
               Webpage titled “31 World’s Best Matching Tattoos for Couples”            R, H,
     118       from BestPickr, available at http://bestpickr.com/matching-couples-     Expert
               tattoos                                                                 Opinion
               August 16, 2013 Article titled “From counter-culture to mainstream:
                                                                                        R, H,
               Why the red-hot tattoo boom is bound to end” from National Post,
     119                                                                               Expert
               available at https://nationalpost.com/news/canada/why-this-red-hot-
                                                                                       Opinion
               tattoo-boom-is-boundto-end-with-regret-again
               September 25, 2013 Article titled “Justin Bieber’s Bible Psalm
                                                                                        R, H,
               Tattoo on the Back of His Shoulder” from PopStarTats,
     120                                                                               Expert
               available at www.popstartats.com/justin-bieber-
                                                                                       Opinion
               tattoos/shoulder-bible-psalm/
               July 17, 2009 Article titled “Oetzi iceman’s tattoos came from
               fireplace” from DiscoveryNews, available at                              R, H,
               http://www.nbcnews.com/id/31965532/ns/technology_and_scienc             Expert
     121
               e- science/t/oetzi-icemans-tattoos-came-fireplace/                      Opinion

               January 28, 2015 Article titled “Peak of Ink” from Inlander,             R, H,
     122       available at https://www.inlander.com/spokane/peak-of-                  Expert
               ink/Content?oid=2405964                                                 Opinion
               February 3, 2014 Article titled “People always say the same
               thing about tattoos” from BBC News, available at                         R, H,
     123       https://www.bbc.com/news/magazine-                                      Expert
               25330947                                                                Opinion
               August 26, 2014 Article titled “Siberian Mummy Burial Row”
               from International Business Times, available at                          R, H,
     124       https://www.ibtimes.co.uk/siberian- mummy-burial-row-                   Expert
               villagers-want-princess-ukok-reburied-stop-natural- disasters-          Opinion
               1462705
               September 30, 2013 Article titled “The rise of the text tattoo” from     R, H,
     125       BBC News, available at https://www.bbc.com/news/magazine-               Expert
               24306141                                                                Opinion


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 Defendants’                                                                        Plaintiff’s
                                          Description
  Exh. No.                                                                          Objections
               Webpage titled “Top 43 Bible Verse Tattoo Ideas” from Next             R, H,
     126       Luxury, available at https://nextluxury.com/mens-style-and-           Expert
               fashion/bible-verse-tattoos-for-men/                                  Opinion
               Webpage titled “Top 55 Best Rose Tattoos for Men” from                 R, H,
     127       Improb.com, available at https://improb.com/best-rose-tattoos-for-    Expert
               men/                                                                  Opinion
               December 10, 2012 Blog post titled “Tattooing in Ancient
               Egypt Part 2: The Mummy of Amunet”, available at                       R, H,
     128       https://blogs.ucl.ac.uk/researchers-in- museums/tag/dr-daniel-        Expert
               fouquet/                                                              Opinion
               Tweet from Louvre Museum, available at                                 R, H,
     129       https://twitter.com/MuseeLouvre/status/1245374207552258049/p          Expert
               hoto/1                                                                Opinion
               Louvre Webpage for “Figurine of a naked woman”, available at           R, H,
     130       https://www.louvre.fr/en/oeuvre-notices/figurine-naked-woman          Expert
                                                                                     Opinion
               June 26, 2014 British Museum Article titled “Tattoos in ancient
               Egypt and Sudan”, available at                                         R, H,
     131       https://blog.britishmuseum.org/tattoos-in-ancient-egypt- and-         Expert
               sudan/                                                                Opinion
               Archaeology.org Webpage titled “Faience Figuring and Bowl”,            R, H,
     132       available at https://www.archaeology.org/issues/107-                  Expert
               features/tattoos/1352-faince-egypt- amunet-hathor-bes                 Opinion
               Webpage displaying image titled “Vyvyn Lazonga’s Hands”                R, H,
     133       (2014) available at https://www.sdbarber.com/tattooed-portraits-      Expert
               2013-2014/ppicfvrd2pf8hm20tfyv2v1k3i246s                              Opinion
               Webpage displaying image titled “Tattooed Self Portrait 4” (2008),     R, H,
     134       available at https://www.sdbarber.com/tattooed-portraits-             Expert
               2008/2aaum9x6ons0wqguxlh2gvh74eyxp0                                   Opinion
               Webpage displaying image titled “Portrait of the Artist, Luke
               Stewart, Head Study” (2009), available at                              R, H,
     135       https://www.sdbarber.com/tattooed-portraits-                          Expert
               2009/e04fzyir2eusmwvoqbnyb96awh4u6q                                   Opinion
               Page titled “Randy Orton” on Smackdown Hotel (Bogost Rpt. Ex.
     136       4)                                                                      R, H
               January 15, 2017 Article titled “PC Monitor Display Sizes
     137       Continues to Grow” from TechTalk (Bogost Rpt. Ex. 5)                    R, H
               September 5, 2015 Article titled “TV Screens Are Getting Bigger
     138       and Bigger” from Statista (Bogost Rpt. Ex. 6)                           R, H


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 Defendants’                                                                    Plaintiff’s
                                          Description
  Exh. No.                                                                      Objections
               January 16, 2018 Article titled “WWE 2K18 roster: Meet the
     139       Superstars joining the list of playable characters” from WWE        R, H
               (Bogost Rpt. Ex. 7)
               Article titled “WWE 2K18 New Moves Pack is Out Today”
     140       from WWE (Bogost Rpt. Ex. 8)                                        R, H

               October 21, 2017 Wiki Entry titled “Game Modes” from IGN WWE
     141       2K18 Wiki Guide (Bogost Rpt. Ex. 9)                                 R, H
               October 18, 2017 Article titled “WWE 2K18: Review of MyCareer
     142       and Road to Glory Modes” from the Bleacher Report (Bogost Rpt.      R, H
               Ex. 10)
               Post on WWEGames Subreddit titled “Skip show intros on
     143       WWE2K18 MyCareer” (Bogost Rpt. Ex. 13)                              R, H

               Post on WWE 2K17 Steam Community Board titled “Skipping
     144       intros?” (Bogost Rpt. Ex. 14)                                       R, H
               Nick Montfort, et al., “10 PRINT CHR$(205.5+RND(1)); : GOTO
     145       10”, available at https://10print.org/10_PRINT_121114.pdf           R, H

     146       Photo of WWE 2K Gameplay (Bogost Rpt. at 18)
     147       Photo of WWE 2K Gameplay (Bogost Rpt. at 19)
     148       Photo of WWE 2K Gameplay (Bogost Rpt. at 19)
     149       Photo of WWE 2K Gameplay (Bogost Rpt. at 19)
     150       Photo of WWE 2K Gameplay (Bogost Rpt. at 19)
     151       Photo of WWE 2K Gameplay (Bogost Rpt. at 29)
     152       Photo of WWE 2K Gameplay (Bogost Rpt. at 29)
     153       Photo of WWE 2K Gameplay (Bogost Rpt. at 30)
     154       Questionnaire (Sample Web Screenshots) (Jay Report App. D)          F, H
               Background Information on the YouGov Online Panel (Jay Report
     155                                                                           F, H
               App. F)
               Background Information on the Research Now/SSI Online Panel
     156       (Jay Report App. G)                                                 F, H
               Main Reasons and Other Reasons Survey Respondents Gave for
     157       Buying a WWE 2K Video Game (Jay Report App. H)                      F, H
               Which Wrestlers’ Depiction Was a Reason for Buying a WWE 2K
     158       Video Game and What Features of Aspects of Their Appearance         F, H
               Were Important to Depict (Jay Report App. I)
     159                                WITHDRAWN

     160                                WITHDRAWN


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 Defendants’                                                                   Plaintiff’s
                                        Description
  Exh. No.                                                                     Objections
               Image of merchandise titled “WWE Wrestling Judgment Day
               2008 T Shirt Triple H Shawn Michaels Undertaker XL,”
               available at https://www.ebay.com/itm/WWE-Wrestling-
     161       Judgment-Day-2008-T-Shirt- Triple-H-Shawn-Michaels-                R, H
               Undertaker-
               XL/303408065564?hash=item46a487ac1c:g:ZA4AAOSwHv1
               d-rOO
               Image of merchandise titled “WWE Wrestling Royal Rumble
               2008 PPV T- Shirt 3XL Black Randy Orton Rey Mysterio,”
               available at https://www.ebay.com/itm/WWE-Wrestling-
     162       Royal-Rumble-2008-PPV-T- Shirt-3XL-Black-Randy-Orton-              R, H
               Rey-
               Mysterio/283836587129?hash=item4215fa9c79:g:pdcAAOSw
               JrBehl-D
               Webpage for April 2008 WWE Magazine via Prowrestling
               Fandom Wiki, available at
     163       https://prowrestling.fandom.com/wiki/WWE_Magazine_-                R, H
               _April_2008
               Image of merchandise titled “WWE Bragging Rights 2009 PPV
               Promo Poster, Undertaker, CM Punk, Excellent Cond,” available
               at https://www.ebay.com/itm/WWE-Bragging-Rights-2009-PPV-
     164       Promo-Poster- Undertaker-CM-Punk-Excellent-                        R, H
               Cond/173570690472?hash=item28699e8da8:g:3~YAAOSwnVRbt
               bUc
               Image of merchandise titled “RANDY ORTON Med THE
               LEGEND Killer 2002 WWE WWF WRESTLING Tee Shirt New
               Deadstock,” available at https://www.ebay.com/itm/RANDY-
     165       ORTON-Med-THE-LEGEND-Killer-                                       R, H
               2002-WWE-Wwf-WRESTLING-Tee-Shirt-New-
               Deadstock/353067731803?hash=item52347a0b5b:g:eaEAAO
               Sw9~xerxug
               Image of merchandise titled “2004 WWF UNFORGIVEN Promo
               T-SHIRT Triple H VS Randy Orton WWE Rare VTG RAW L,”
               available at https://www.ebay.com/itm/2004-WWF-
     166       UNFORGIVEN-Promo-T-SHIRT- Triple-H-VS-Randy-Orton-                 R, H
               WWE-Rare-VTG-RAW-
               L/263906290659?hash=item3d720a6be3:g:arcAAOSwKWxbh0H
               d




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 Defendants’                                                                    Plaintiff’s
                                         Description
  Exh. No.                                                                      Objections
               Image of merchandise titled “WWE Wrestling Armageddon 2007
               PPV T-Shirt 3XL Black Randy Orton Undertaker Edge,” available
               at https://www.ebay.com/itm/WWE-Wrestling-Armageddon-2007-
     167       PPV-T-Shirt-                                                        R, H
               3XL-Black-Randy-Orton-Undertaker-
               Edge/283836586487?hash=item4215fa99f7:g:OucAAOSw0NZehl
               45
               Image of merchandise titled “2007 Royal Rumble Official Poster
               Rare!! 27x39
               Blast Area PPV Poster WWF WWE,” available at
     168       https://www.ebay.com/itm/2007-Royal-Rumble-Official-Poster-         R, H
               Rare-27x39- Blast-Area-PPV-Poster-WWF-
               WWE/133371986052?hash=item1f0d970084:g:xEgAAOSw1m
               defCaZ
               Image of merchandise titled “WWE RANDY ORTON NO
               MERCY CARDBOARD POSTER (NEW),” available at
               https://www.ebay.com/itm/WWE-RANDY-ORTON-NO-
     169                                                                           R, H
               MERCY- CARDBOARD-POSTER-
               NEW/154051309241?hash=item23de2c6eb9:g:pNoAAOSwlGZfP
               GCU
     170       Demonstratives for Use with Ian Bogost, Ph.D.                      D, NP
     171       Demonstratives for Use with Nina Jablonski, Ph.D.                  D, NP
     172       Demonstratives for Use with E. Deborah Jay, Ph.D.                  D, NP
     173       Demonstratives for Use with Edward Kiang                           D, NP
     174       Demonstratives for Use with Mark Little                            D, NP
     175       Demonstratives for Use with James Malackowski                      D, NP
     176       Demonstratives for Use with Randy Orton                            D, NP
     177       Demonstratives for Use with Chris Snyder                           D, NP
               February 17, 2018 Instagram post from schrockbrian (Alexander
     178       Depo. Ex. 1)                                                        R, H
               Photo of Arm Tattoo with Drawing, produced as
     179       ALEXANDER00042 (Alexander Dep. Ex. 9)
               Postal Confirmations for Library of Congress Submissions,
     180       produced as ALEXANDER000029-ALEXANDER000034                         R, H
               (Alexander Dep. Ex. 19)




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 Defendants’                                                                      Plaintiff’s
                                         Description
  Exh. No.                                                                        Objections
               December 12, 2018 Email U.S. Copyright Office to The Simon Law
               Firm re Copyright Status Request, produced as
     181       ALEXANDER000056-ALEXANDER000058 (Alexander Dep. Ex.                   R, H
               20)
               Spreadsheet titled “WWE 2K Franchise sales since Apr’2015”,
     182       produced as TAKE-TWO_0000982 (Highly Confidential)
               Spreadsheet titled “WWE 2K Franchise sales since Apr’2015”,
     183       produced as TAKE-TWO_0001447 (Highly Confidential)
               December 28, 2007, Game Log Post by Jose Zagal titled “Half-Life
     184       2: Episode 1 (PC)” (Zagal Dep. Ex. 1)                                 R, H

               November 3, 2008, Destructoid article by Nick Chester titled
     185       “WWE’s Randy Orton talks videogames, violence, having his face        R, H
               in a game” (Zagal Dep. Ex. 2)
               Sportskeeda slide “#6 Randy Orton” from slideshow titled “Top 10
     186       coolest WWE Tattoos” (Zagal Dep. Ex. 4)
               Jose P. Zagal, Ludoliteracy: Defining, Understanding, and
     187       Supporting Games
                d     i Exhibit:
               Physical  ( C WWE2010)   SmackDown!: Shut Your Mouth (PS2,
     188                                                                              R
               2002)
               Physical Exhibit: WWE SmackDown!: Here Comes The Pain (PS2,
     189       2003)                                                                  R

     190       Physical Exhibit: WWE SmackDown! vs. Raw (PS2, 2004)                   R
     191       Physical Exhibit: WWE SmackDown! vs. Raw 2006 (PS2, 2005)              R
     192       Physical Exhibit: WWE SmackDown vs. Raw 2007 (PS2, 2006)               R
     193       Physical Exhibit: WWE SmackDown vs. Raw 2008 (PS2, 2007)               R
     194       Physical Exhibit: WWE SmackDown vs. Raw 2009 (PS2, 2008)               R
     195       Physical Exhibit: WWE SmackDown vs. Raw 2010 (PS2, 2009)               R
     196       Physical Exhibit: WWE SmackDown vs. Raw 2011 (PS2, 2010)               R
               WWE SmackDown!: Shut Your Mouth (PS2, 2002) Gameplay -
     197       Randy Orton vs. Kane                                                   R
               WWE SmackDown!: Here Comes The Pain (PS2, 2003) Gameplay
     198       – Randy Orton vs. Batista                                              R
               WWE SmackDown! vs. Raw (PS2, 2004) Gameplay - Randy Orton
     199       vs. Kane                                                               R
               WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay - Randy
     200       Orton vs. Triple H                                                     R



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 Defendants’                                                                     Plaintiff’s
                                         Description
  Exh. No.                                                                       Objections
               WWE SmackDown vs. Raw 2007 (PS2, 2006) Gameplay - Randy
     201       Orton vs. Triple H                                                    R
               WWE SmackDown vs. Raw 2008 (PS2, 2007) Gameplay - Randy
     202       Orton vs. Kane                                                        R
               WWE SmackDown vs. Raw 2009 (PS2, 2008) Gameplay - Randy
     203       Orton vs. Undertaker                                                  R
               WWE SmackDown vs. Raw 2010 (PS2, 2009) Gameplay - Randy
     204       Orton vs. Kane                                                        R
               WWE SmackDown vs. Raw 2011 (PS2, 2010) Gameplay - Randy
     205       Orton vs. John Cena                                                   R

     206       Poster Advertising Pay-Per-View Event Titled WWE Vengeance            R
               Poster Advertising Pay-Per-View Event Titled SmackDown
     207       Presents: No Way Out                                                  R

     208       Poster Advertising Pay-Per-View Event Titled WWE No Mercy             R
     209       Poster Advertising Pay-Per-View Event Titled WWE Backlash             R
     210       Poster Advertising Pay-Per-View Event Titled WWE Fatal 4 Way          R
     211       Poster Advertising Pay-Per-View Event Titled Night of Champions       R
               Poster Advertising Pay-Per-View Event Titled WWE Over the
     212       Limit                                                                 R

     213       Poster Advertising Pay-Per-View Event Titled Payback                  R
     214       Poster Advertising Pay-Per-View Event Titled Payback                  R
               Poster Advertising Pay-Per-View Event Titled The Greatest
     215       Wrestling Match Ever: BackLash                                        R

               Screenshot from WWE SmackDown!: Shut Your Mouth (PS2,
     216       2002) Gameplay - Randy Orton vs. Kane                                 R

               Screenshot from WWE SmackDown!: Shut Your Mouth (PS2,
     217       2002) Gameplay - Randy Orton vs. Kane                                 R

               Screenshot from WWE SmackDown!: Shut Your Mouth (PS2,
     218       2002)                                                                 R
               G     l fromdWWE
               Screenshot       O SmackDown!: Here Comes The Pain (PS2,
     219       2003) Gameplay - Randy Orton vs. Batista                              R

               Screenshot from WWE SmackDown!: Here Comes The Pain (PS2,
     220       2003)                                                                 R
               G     l fromdWWE
               Screenshot       O SmackDown!:
                                         i     Here Comes The Pain (PS2,
     221                                                                             R
               2003)


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 Defendants’                                                               Plaintiff’s
                                      Description
  Exh. No.                                                                 Objections
               Screenshot from WWE SmackDown!: Here Comes The Pain (PS2,
     222       2003)                                                           R
               G     l fromdWWE
               Screenshot       O SmackDown!i  vs. Raw (PS2, 2004)
     223       Gameplay – Randy Orton vs. Kane                                 R
               Screenshot from WWE SmackDown! vs. Raw (PS2, 2004)
     224       Gameplay – Randy Orton vs. Kane                                 R

               Screenshot from WWE SmackDown! vs. Raw (PS2, 2004)
     225       Gameplay – Randy Orton vs. Kane                                 R

               Screenshot from WWE SmackDown! vs. Raw (PS2, 2004)
     226       Gameplay – Randy Orton vs. Kane                                 R
               Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005)
     227       Gameplay - Randy Orton vs. Triple H                             R

               Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005)
     228       Gameplay - Randy Orton vs. Triple H                             R

               Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005)
     229       Gameplay - Randy Orton vs. Triple H                             R

               Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005)
     230       Gameplay - Randy Orton vs. Triple H                             R
               Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005)
     231       Gameplay - Randy Orton vs. Triple H                             R

               Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005)
     232       Gameplay - Randy Orton vs. Triple H                             R

               Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005)
     233       Gameplay - Randy Orton vs. Triple H                             R

               Screenshot from WWE SmackDown vs. Raw 2007 (PS2, 2006)
     234       Gameplay - Randy Orton vs. Triple H                             R

               Screenshot from WWE SmackDown vs. Raw 2007 (PS2, 2006)
     235       Gameplay - Randy Orton vs. Triple H                             R

               Screenshot from WWE SmackDown vs. Raw 2007 (PS2, 2006)
     236       Gameplay - Randy Orton vs. Triple H                             R
               Screenshot from WWE SmackDown vs. Raw 2007 (PS2, 2006)
     237       Gameplay - Randy Orton vs. Triple H                             R
               Screenshot from WWE SmackDown vs. Raw 2008 (PS2, 2007)          R
     238       Gameplay - Randy Orton vs. Kane


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 Defendants’                                                                  Plaintiff’s
                                         Description
  Exh. No.                                                                    Objections
               Screenshot from WWE SmackDown vs. Raw 2008 (PS2, 2007)
     239       Gameplay - Randy Orton vs. Kane                                    R
               Screenshot from WWE SmackDown vs. Raw 2008 (PS2, 2007)
     240       Gameplay - Randy Orton vs. Kane                                    R
               Screenshot from WWE SmackDown vs. Raw 2009 (PS2, 2008)
     241       Gameplay - Randy Orton vs. Undertaker                              R
               Screenshot from WWE SmackDown vs. Raw 2009 (PS2, 2008)
     242       Gameplay - Randy Orton vs. Undertaker                              R

               Screenshot from WWE SmackDown vs. Raw 2009 (PS2, 2008)
     243       Gameplay - Randy Orton vs. Undertaker                              R

               Screenshot from WWE SmackDown vs. Raw 2009 (PS2, 2008)
     244       Gameplay - Randy Orton vs. Undertaker                              R

               Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009)
     245       Gameplay - Randy Orton vs. Kane                                    R

               Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009)
     246       Gameplay - Randy Orton vs. Kane                                    R
               Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009)
     247       Gameplay - Randy Orton vs. Kane                                    R

               Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009)
     248       Gameplay - Randy Orton vs. Kane                                    R

               Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009)
     249       Gameplay - Randy Orton vs. Kane                                    R
               Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009)
     250       Gameplay - Randy Orton vs. Kane                                    R
               Screenshot from WWE SmackDown vs. Raw 2011 (PS2, 2010)
     251       Gameplay - Randy Orton vs. John Cena                               R
               Screenshot from WWE SmackDown vs. Raw 2011 (PS2, 2010)
     252       Gameplay - Randy Orton vs. John Cena                               R

               Screenshot from WWE SmackDown vs. Raw 2011 (PS2, 2010)
     253       Gameplay - Randy Orton vs. John Cena                               R
               Screenshot from WWE SmackDown vs. Raw 2011 (PS2, 2010)
     254                                                                          R
               Gameplay - Randy Orton vs. John Cena
     255       Photograph of Randy Orton (2002, forearms, front view)           403, R
               Photograph of Randy Orton (2002, biceps, arms crossed, front
     256       view)                                                            403, R

     257       Photograph of Randy Orton (2002, biceps, back view)              403, R

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 Defendants’                                                                          Plaintiff’s
                                           Description
  Exh. No.                                                                            Objections
     258       Photograph of Randy Orton (2002, left bicep, front view)                 403, R
     259       Photograph of Randy Orton (2003, biceps, shoulders, back view)           403, R
               Photograph of Randy Orton (2003, right bicep, back and zoomed-in
     260       view)                                                                    403, R

     261       Photograph of Randy Orton (2003, right shoulder, zoomed-in view)         403, R
               Photograph of Randy Orton (2004, left bicep, left forearm, side
     262       view)                                                                    403, R

               Photograph of Randy Orton (2004, left bicep, partial right bicep,
     263       back view)                                                               403, R

     264       Photograph of Randy Orton (2005, left bicep, side view)                  403, R
               Photograph of Randy Orton (2005, forearms, hands in air, front
     265       view)                                                                    403, R
               Photograph of Randy Orton (2005, forearms, hands in air, back
     266                                                                                403, R
               view)
               Photograph of Randy Orton (2006, right bicep, partial right forearm,
     267       partial back, side view)                                                 403, R
               Photograph of Randy Orton (2006, back, biceps, hands in air, back
     268                                                                                403, R
               view)
     269       Photograph of Randy Orton (2007, back, partial biceps, back view)        403, R
     270       Photograph of Randy Orton (2007, right forearm, Samantha)                403, R
     271       Photograph of Randy Orton (2008, sleeves, front view)
               Photograph of Randy Orton (2008, sleeves, arms crossed, front
     272       view)

     273       Photograph of Randy Orton (2008, right sleeve, back view)
               Photograph of Randy Orton (2008, partial right sleeve, zoomed-in
     274       back view)
               Photograph of Randy Orton (2008, partial right sleeve, zoomed-in
     275       back view)
               Photograph of Randy Orton (2008, partial right sleeve, zoomed-in
     276       back view)
               Photograph of Randy Orton (2008, partial right sleeve, zoomed-in
     277
               front view)
               Photograph of Randy Orton (2008, partial right sleeve, zoomed-in
     278       front view)
               Photograph of Randy Orton (2008, partial right sleeve, zoomed-in
     279
               side view)
                                               17
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 Defendants’                                                                      Plaintiff’s
                                          Description
  Exh. No.                                                                        Objections
     280       Photograph of Randy Orton (2008, partial sleeve, Alanna)
     281       Photograph of Randy Orton (2008, partial sleeve, Alanna)
     282       Photograph of Randy Orton (2008, left partial sleeve)
     283       Photograph of Randy Orton (2008, partial sleeve, dove)
     284       Photograph of Randy Orton (2008, partial sleeve, dove)
               Photograph of Randy Orton (2008, left partial sleeve, dove, back
     285       view)
     286       Photograph of Randy Orton (2008, sleeves, front view)
     287       Photograph of Randy Orton (2008, right sleeve, side view)

     288       Photograph of Randy Orton (2008, left sleeve, side view)
     289       Photograph of Randy Orton (2008, sleeves, front view)
     290       Photograph of Randy Orton (2009, left sleeve, front view)
     291       Photograph of Randy Orton (2009, right sleeve, front view)
     292       Photograph of Randy Orton (2009, sleeves, back view)
     293       Photograph of Randy Orton (2010, sleeves, front view)
     294       Photograph of Randy Orton (2010, left sleeve, side view)
               Photograph of Randy Orton (2010, sleeves, arms crossed, side
     295       view)
     296       Photograph of Randy Orton (2011, sleeves, front view)
     297       Photograph of Randy Orton (2011, sleeves, back view)
               Photograph of Randy Orton (2011, sleeves, arms crossed, front
     298       view)
     299       Photograph of Randy Orton (2012, left sleeve, side view)
     300       Photograph of Randy Orton (2012, sleeves, back view)
     301       Photograph of Randy Orton (2012, right sleeve, side view)
     302       Photograph of Randy Orton (2013, right sleeve, side view)
     303       Photograph of Randy Orton (2013, sleeves, back view)
     304       Photograph of Randy Orton (2013, left sleeve, side view)
     305       Photograph of Randy Orton (2014, right sleeve, side view)
     306       Photograph of Randy Orton (2014, sleeves, back view)
     307       Photograph of Randy Orton (2014, left sleeve, side view)
               Photograph of Randy Orton (2014, sleeves, front view)
     308



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 Defendants’                                                                      Plaintiff’s
                                          Description
  Exh. No.                                                                        Objections
     309       Photograph of Randy Orton (2014, sleeves, front view)
     310       Photograph of Randy Orton (2014, sleeves, back view)
               Photograph of Randy Orton (2014, sleeves, arms crossed, zoomed-
     311       in front view)
     312       Photograph of Randy Orton (2015, sleeves, back view)
     313       Photograph of Randy Orton (2015, sleeves, wingspan, 3/4 view)
     314       Photograph of Randy Orton (2015, sleeves, front view)
     315       Photograph of Randy Orton (2016, sleeves, back view)
               Photograph of Randy Orton (2016, sleeves, front view, wearing
     316       sleeveless hoodie)
               Photograph of Randy Orton (2016, left sleeve, 3/4 view, wearing
     317       sleeveless hoodie)
               Photograph of Randy Orton (2016, right sleeve, 3/4 view, wearing
     318       sleeveless hoodie)
               Photograph of Randy Orton (2016, sleeves, front view, wearing
     319       sleeveless hoodie)

     320       Photograph of Randy Orton (2017, sleeves, front view)
     321       Photograph of Randy Orton (2017, sleeves, 3/4 view)
     322       Photograph of Randy Orton (2017, sleeves, 3/4 view)
     323       Photograph of Randy Orton (2017, sleeves, back view)
     324       Photograph of Randy Orton (2017, sleeves, back view)
     325       Photograph of Randy Orton (2018, sleeves, front view)
     326       Photograph of Randy Orton (2018, right sleeve, side view)
     327       Photograph of Randy Orton (2018, sleeves, back view)
     328       Photograph of Randy Orton (2018, left sleeve, side view)
     329       Photograph of Randy Orton (2018, sleeves, 3/4 view)




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                                        Objection Key
         H          Hearsay
         R          Relevance
        ML          Subject to Motion in Limine
          F         Foundation
        403         Prejudicial
   Expert Opinion   Undisclosed Expert Opinion
       Disc.        Plaintiff objects to reading Plaintiff’s objections to discovery requests to
                    the jury. Plaintiff further objects to the introduction of any answers in
                    Plaintiff’s responses to discovery that violate any granted motion in limine
                    or any stipulations regarding evidence made by the parties.
        D           Demonstrative
        NP          Not produced to Plaintiff




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 Dated: January 26, 2022                             Respectfully submitted,

                                                     /s/ Paul J. Tahan
                                                     Anthony G. Simon, IL 6209056
                                                     Anthony R. Friedman, IL 6299795
                                                     Paul J. Tahan
                                                     THE SIMON LAW FIRM, P.C.
                                                     800 Market Street, Suite 1700
                                                     St. Louis, Missouri 63101
                                                     Phone: (314) 241-2929
                                                     Fax: (314) 241-2029
                                                     asimon@simonlawpc.com
                                                     afriedman@simonlawpc.com
                                                     ptahan@simonlawpc.com

                                                     R. Seth Crompton
                                                     THE HOLLAND LAW FIRM
                                                     300 N. Tucker, Suite 801
                                                     St. Louis, Missouri 63101
                                                     scrompton@allfela.com
                                                     Phone: (314) 241-8111
                                                     Facsimile: (314) 241-5554

                                                     Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served upon all counsel of record via

 this Court’s CM/ECF system on January 26, 2022.

                                                     /s/ Paul J. Tahan




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